Dear Mr. Guice:
You have asked this office to advise "whether or not an elected official can work for the sheriff's department".  We assume that you have reference to yourself, as you currently are a member of the Madison Parish Police Jury.
R.S. 42:63(D) specifically prohibits this arrangement, as the statute provides:
  D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.
We enclose copies of Attorney General Opinions 02-0054 and 99-164, which afford the same conclusion.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             BY: _____________________________ KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
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Date Released: July 2, 2002
OPINION NUMBER 02-0054
February 25, 2002
78   DUAL OFFICEHOLDING R.S. 42:62(4)and(5); R.S. 42:63(D); R.S. 42:66(L)and (M); R.S. 42:61, et seq.
Elected constable or marshal may hold part-time position of deputy sheriff.  Police juror may not hold any office with the sheriff's department.
Honorable Aubrey Jones Sheriff P. O. Box 668 Franklinton, LA  70438
Dear Sheriff Jones:
You ask this office to address the following three questions:
    1.  May an elected city marshal serve as a part-time deputy sheriff;
    2.  May an elected constable serve as a part-time deputy sheriff;
    3.  May an elected parish police jury member serve as an unpaid reserve deputy for the sheriff's office?
The Dual Officeholding and Dual Employment Laws, R.S. 42:61, et seq., prohibit one from holding an elective office in a political subdivision of the state and full-time appointive office.  R.S. 42:63(D) provides:
    D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board hold any office or employment with any sheriff, assessor, or clerk of court.
(Emphasis added).
Since the position of deputy sheriff is held on a part-time basis, the scenarios contemplated in your first and second questions are not prohibited by law.  The definitions of part-time and full-time are found in R.S. 42:62(4) and (5).  "Full time" means the period of time  which a person normally works or is expected to work in an appointive office or employment and which is at least seven hours per day of work and at least thirty-five hours per week of work.  "Part time" means the period of time which a person normally works or is expected to work in an appointive office or employment which is less than the number of hours of work defined as full time.
Further, should the position of deputy sheriff be held on a full-time basis, the following exemptions contained in R.S. 42:66(L) and R.S.42:66(M) should be reviewed for applicability:
    L. (1) Nothing in this Part shall be construed to prevent a deputy sheriff from holding the office of either mayor or alderman of a municipality, provided such municipality has a population of two thousand or less, according to the latest federal decennial census.
    (2)(a) Nothing in this Part shall be construed to prohibit a deputy sheriff from holding the office of part-time constable of a justice of the peace court whose jurisdiction has a population of fifteen thousand or fewer persons according to the 1990 federal decennial census, or from holding the office of part-time constable or part-time marshal of a city court in a municipality with a population of ten thousand or fewer persons according to the 1990 federal decennial census, provided such person held both the office of deputy sheriff and the office of constable or marshal prior to January 1, 1997.
(b) Repealed by Acts 2001, No. 127, § 1.
    M. Nothing in this Part shall be construed to prohibit a chief of police of a municipality with a population of less than five thousand according to the 1990 federal decennial census from holding the office of deputy sheriff.
In response to your third question, R.S. 42:63(D) quoted above prohibits any "member of any parish governing authority" from holding "any office or employment with any sheriff." Compensation, or lack thereof, is not relevant to this determination.
We hope the foregoing is helpful to you.  Should you have further questions, please contact this office.
Very truly yours,
                         RICHARD P. IEYOUB ATTORNEY GENERAL
                         BY: KERRY L. KILPATRICK ASSISTANT ATTORNEY GENERAL
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OPINION NUMBER 99-164
June 18, 1999
78 DUAL OFFICEHOLDING R.S. 44:63(D)
Warden of East Carroll Detention Center, who is employed by the sheriff's office, is prohibited from simultaneously holding the elected position of police juror.
Mr. Ernest Lovell 404 Star Arlington Lake Providence, LA 71254
Dear Mr. Lovell:
In response to your inquiry of recent, please note that R.S. 42:63(D) of Louisiana's Dual Employment and Dual Officeholding Law is controlling. The language of that statute pertinently provides:
      D. No person holding an elective office in a political subdivision of this state shall at the same time hold another elective office or full-time appointive office in the government of this state or in the government of a political subdivision thereof. No such person shall hold at the same time employment in the government of this state, or in the same political subdivision in which he holds an elective office. In addition no sheriff, assessor, or clerk of court shall hold any office or employment under a parish governing authority or school board, nor shall any member of any parish governing authority or school board  hold any office or employment with any sheriff, assessor, or clerk of court. (Emphasis added).
The law prohibits one from holding the elective office of police juror and concurrently holding employment with any sheriff's office. You may run for office assuming your candidacy does not interfere with the requirements of your current employment, but if you are elected, you must decide which position to retain and which position to relinquish.
Should you have any further questions, please contact this office.
Very truly yours,
                             RICHARD P. IEYOUB ATTORNEY GENERAL
                             BY: KERRY L. KILPATRICK
ASSISTANT ATTORNEY GENERAL
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